
USCA1 Opinion

	




                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                             ___________________________          No. 93-1628                              UNITED STATES OF AMERICA,                                      Appellee,                                          v.                                   EDWARD L. GALLO,                                Defendant, Appellant.                             ___________________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF MASSACHUSETTS                   [Hon. Douglas P. Woodlock, U.S. District Judge]                                              ___________________                             ___________________________                                        Before                                Selya, Circuit Judge,                                       _____________                            Coffin, Senior Circuit Judge,                                    ____________________                               and Cyr, Circuit Judge.                                        _____________                             ___________________________               Miriam Conrad, Federal Defender Office, for appellant.               _____________               Timothy  Q. Feeley,  Assistant United States  Attorney, with               __________________          whom A. John  Pappalardo, United States  Attorney, was on  brief,               ___________________          for appellee.                             ___________________________                                    March 31, 1994                             ___________________________                                SELYA, Circuit Judge.   This appeal tests the propriety                    SELYA, Circuit Judge.                           _____________          of an order revoking appellant's  probation and sentencing him to          serve  a portion  of  a previously  suspended  prison term.    We          affirm.          I.  BACKGROUND          I.  BACKGROUND                    We  succinctly summarize  the facts necessary  to place          this appeal into proper perspective, recounting disputed facts in          a  manner  consistent  with   the  district  court's  supportable          findings of fact.                    On  November 5,  1987,  a  federal  grand jury  in  the          District of Columbia indicted defendant-appellant Edward L. Gallo          on  a medley of firearms charges.1  Initially, the district court          found  appellant  incompetent  to  stand trial  and  ordered  him          civilly committed.  He was  diagnosed as suffering from  paranoid          schizophrenia,   thought   to   be  incurable   but,   hopefully,          controllable through  medication.   Thereafter, in July  of 1989,          appellant pleaded  guilty  to a  single  count of  possessing  an          unregistered  firearm in violation of  26 U.S.C.    5861(j).  The          district court then  dismissed the remaining  five counts of  the          indictment; sentenced appellant  to three years  of imprisonment,          suspended;  placed him on probation for five years; and crafted a          special  set of  conditions ancillary  to the  probationary term.                                        ____________________               1Police officers,  who were  investigating a threat  to harm          former Secretary of State George Schultz, intercepted Gallo as he          emerged  from  a  Washington motel  on  November  3,  1987.   The          officers   found  a  small  arsenal  in   the  trunk  of  Gallo's          automobile,  including  a rifle,  a  sawed-off  shotgun, a  semi-          automatic shotgun, and various types of ammunition.                                          2          The first and second conditions possess particular pertinence for          present purposes.  They read in relevant part:                    1.   The defendant  shall be confined  to St.                    Elizabeth's  Hospital for  a period  of sixty                    days.                    2.   Defendant  shall  continue to  submit to                    proper  psychiatric  treatment, inclusive  of                    medication, upon his  release from  impatient                    [sic]  hospitalization  and shall  consent to                    the  Probation  Office having  access  to his                    medical records. . . .          In fact, appellant stayed at St. Elizabeth's for much longer than          sixty  days following the imposition of sentence.  In the fall of          1990, the hospital discharged him.  In the same time frame, three          other interrelated events occurred:   appellant took up residence          at  his  mother's home  in  Massachusetts;  the sentencing  court          transferred jurisdiction over  the matter to its  sister court in          the District of Massachusetts; and probation supervision began in          that district.                    While at  St.  Elizabeth's,  appellant  first  met  Dr.          Geller,  a Massachusetts-based  psychiatrist.    After  appellant          sojourned  to  Massachusetts,  he consulted  regularly  with  Dr.          Geller.2   His  course  of treatment  centered  around a  monthly          injection  of  haloperidol  decanoate  (Haldol).   The  treatment          protocol featured gradual decreases in dosage, aimed at lessening          the  patient's   dependence  upon  the  drug.     Appellant,  who          steadfastly maintained  that he  had no psychiatric  disorder and          that he should  not be on medication at all,  favored the dosage-                                        ____________________               2Throughout  the course  of  treatment Dr.  Geller submitted          periodic reports to the probation office.                                          3          reduction program.                    Over  a  period of  more  than  two years,  Dr.  Geller          decreased  Gallo's dosage  from  150 milligrams  per month  to 25          milligrams  per month.  In  January of 1993,  however, the doctor          noted ominous  behavioral changes.  For  example, appellant began          writing of his belief  that satellites and lasers were  attacking          him  and threatening  national  security; in  addition, he  began          acting  in a manner reminiscent of how he had behaved immediately          prior  to his  arrest in  1987.   When the  dosage dropped  to 20          milligrams per month, Dr.  Geller became concerned that appellant          was  no  longer  responding  appropriately  to   the  medication.          Nonetheless, appellant  expressed staunch opposition  to resuming          heavier doses of Haldol.                    The  dosage-reduction program  continued until  May 21,          1993,  when  Dr. Geller,  due in  part  to Gallo's  opposition to          increasing the dosage and  in part to the reported  recurrence of          hallucinogenic experiences, advised  the probation office of  his          opinion   that  "proper   psychiatric  treatment"   demanded  "an          inpatient  psychiatric admission"  because  Gallo could  not  "be          effectively  or  safely managed  on  an  outpatient basis."3    A          probation officer  immediately visited appellant and informed him          of Dr. Geller's  recommendation.  Appellant debunked the need for          inpatient  treatment and  refused  to cooperate.   The  probation                                        ____________________               3The straw that broke the dromedary's  back may have emerged          on May 20,  when Gallo for the first time  voiced an inability to          assure Dr.  Geller that he  would not do  something he or  others          would regret.                                          4          officer concluded that "given Mr. Gallo's current mental state, .          . . he presents a  potential risk to himself and/or others."   On          the following day, the officer requested that the  district court          issue  a warrant  for violation  of the  conditions  attendant to          probation.                    After  an  evidentiary  hearing,  the  district  court,          citing,  inter  alia,  the  risk  to public  safety,  found  that                   _____  ____          appellant  needed inpatient care to determine the proper level of          medication  and get  his treatment  program back  on track.   The          court  then ruled  that  appellant had  violated the  outstanding          probation order by refusing to  undergo hospitalization.  On this          basis, the  court revoked Gallo's  probation, sentenced him  to a          one-year term of  immurement, see 18  U.S.C.   3565(a)(2)  (1988)                                        ___          (stipulating that,  upon finding  a probation violation,  a court          may  "revoke  the  sentence of  probation  and  impose  any other          sentence  that was  available . .  . at  the time  of the initial          sentencing"), and recommended  that appellant serve the  sentence          in  "a  facility that  can  provide  the appropriate  psychiatric          treatment and .  . . hospitalization."  The court  also imposed a          follow-on term  of supervised  release,  attaching seven  special          conditions  to  that  term   (including  a  condition   requiring          continued psychiatric care).                    Gallo appeals.  Although he parades several assignments          of error before us, they march beneath two broad banners.  First,          appellant  challenges the probation  order, asseverating  that it          neither required  involuntary  hospitalization nor  afforded  him                                          5          adequate  notice that, by refusing such care, he would be risking          imprisonment.   Second,  he  challenges  the revocation  decision          itself, including the finding that a violation occurred.4          II.  THE PROBATION ORDER          II.  THE PROBATION ORDER                    The Due Process Clause extends to probation  revocation          proceedings.   See Gagnon v. Scarpelli, 411 U.S. 778, 782 (1973).                         ___ ______    _________          Fair  warning  of conduct  that may  result  in revocation  is an          integral  part of  due process  in such  situations.   See United                                                                 ___ ______          States  v. Simmons,  812 F.2d 561,  565 (9th  Cir. 1987).   Here,          ______     _______          appellant  argues that  the conditions of  his probation  did not          require  him to acquiesce  in hospitalization, or, alternatively,          did not provide  fair warning that failure to  do so might result          in revocation.  We approach these arguments with full realization          that the interpretation of a  probation condition and whether  it          affords  a probationer  fair  warning of  the conduct  proscribed          thereby are essentially matters of law  and, therefore, give rise          to de novo review  on appeal.  See  In re Howard, 996  F.2d 1320,             __ ____                     ___  ____________          1327 (1st Cir. 1993) (explaining that "unadulterated questions of          law"  customarily entail  plenary review);  cf. Firestone  Tire &amp;                                                      ___ _________________          Rubber  Co. v.  Bruch,  489 U.S.  101,  115 (1989)  (establishing          ___________     _____                                        ____________________               4Initially, appellant also claimed  that the district court,          in  sentencing  him to  a period  longer  than that  suggested in          U.S.S.G.   7B1.4, failed  adequately to  consider the  Sentencing          Commission's policy  statement.   Since appellant has  now served          the one-year sentence in  full, he has withdrawn this claim.  But          because he is still serving the supervised release term, the same          circumstance does not  render the remainder  of his appeal  moot.          See, e.g., Carafas v. LaVallee, 391 U.S. 234, 237 (1968) (holding          ___  ____  _______    ________          that,  although  a sentence  has  been  served,  the presence  of          "collateral consequences" can save a case from mootness).                                          6          standard of de novo judicial review for construction of  employee                      __ ____          benefit plans).                             A.  Scope of the Conditions.                             A.  Scope of the Conditions.                                 _______________________                    The threshold question  is whether inpatient  treatment          falls within the  scope of the probation order.   We believe that          the conditions of probation definitely encompass such treatment.                    The   probation  order   states  that   appellant  must          "continue to submit to proper psychiatric treatment, inclusive of          medication, . . . ."   We are confident that this broadly phrased          directive, read naturally and with due regard for context, covers          inpatient  care.   After all,  the sentencing  judge attached  no          qualifiers  or   words  of  limitation  to   the  requirement  of          treatment,  other  than  that   the  treatment  be  "proper"  and          "psychiatric."   And in terms of language, we deem it significant          that the  condition directs that appellant "continue to submit to                                                      ________          proper  psychiatric treatment. . . ."  (Emphasis supplied.)  When          this   verb  usage  is  examined  against  the  backdrop  of  the          immediately   preceding   condition,   which  memorializes   that          appellant "shall be confined to St. Elizabeth's Hospital" for his          initial  treatment,5 continuation of that treatment cannot fairly          be read  to exclude further  hospitalization.  And,  moreover, an          expansive  reading  is  especially  compelling in  light  of  the          incurable nature  of appellant's illness and  his previous three-          year stay in a psychiatric hospital.                                        ____________________               5By like token, Condition No. 2 itself states that it  is to          take  effect   "upon  [Gallo's]  release   from  impatient  [sic]          hospitalization. . . ."                                          7                    We think,  too, that the circumstances  surrounding the          probation  order necessitate  such an  interpretation.   The plea          agreement  commemorated appellant's  understanding that  he would          have to report on  a regular basis to a  "mental health physician          chosen by  the government" and "follow  the doctor's instructions          unless  excused by  an  order of  the  Court."   Thus,  the  plea          agreement made pellucid that appropriate medical  care lay at the          heart of  the  agreed  disposition  of  appellant's  case     and          hospitalization  is  a  mainstay  of  appropriate  medical  care.          Moreover,  the probationary  period was to  last for  five years;          during  so lengthy  a  span, it  was  certainly foreseeable  that          appellant's  medical needs  might  evolve in  such  a way  as  to          require rehospitalization.   Put bluntly, inpatient  care, having          proved necessary in  the past,  was well within  the universe  of          treatment modalities that might prove "proper" in the future.                    Under  the circumstances  of  this case,  it is  beyond          serious question that  the words  "proper psychiatric  treatment"          were intended to include    and did include   the  possibility of          hospitalization.  Consequently,  we reject appellant's  complaint          that the  conditions attached  to his  probation did  not require          submission to inpatient medical care.                           B.  Sufficiency of the Warning.                           B.  Sufficiency of the Warning.                               __________________________                    Appellant  has  a fallback  position.    He strives  to          persuade us  that, even  if the  written  conditions extended  to          enforced hospitalization, they did not afford him adequate notice          that  refusal  to  accept   such  treatment  would  constitute  a                                          8          violation  of his  probation.  In  studying this  proposition, we          must ask whether  appellant was chargeable with  knowledge of the          probation order's inclusive requirements (and  the penalties that          might  be imposed  for disregarding  those requirements)  when he          spurned the request to admit himself to the hospital.                    When,  as  now,  a court  order  is  read  to proscribe          conduct  that  is not  in itself  unlawful,  the dictates  of due          process  forbid the forfeiture of an actor's liberty by reason of          such conduct unless he is given fair warning.  See  United States                                                         ___  _____________          v. Grant,  816 F.2d  440, 442 (9th  Cir. 1987); United  States v.             _____                                        ______________          Dane, 570 F.2d 840,  843 (9th Cir. 1977), cert. denied,  436 U.S.          ____                                      _____ ______          959 (1978); see also  Marks v. United  States, 430 U.S. 188,  191                      ___ ____  _____    ______________          (1977) (discussing  fair warning  in respect  to conduct that  is          deemed  criminal); Bouie v. City  of Columbia, 378  U.S. 347, 351                             _____    _________________          (1964) (similar).   Nevertheless, the fair  warning doctrine does          not provide a safe  harbor for probationers who choose  to ignore          the obvious.                    Furthermore, though a probationer is entitled to notice          of what behavior will result in a violation, so that he may guide          his  actions accordingly, fair warning is not to be confused with          the   fullest,   or   most  pertinacious,   warning   imaginable.          Conditions of probation  do not have  to be  cast in letters  six          feet high, or to describe every possible permutation, or to spell          out  every last, self-evident detail.   See Green  v. Abrams, 984                                                  ___ _____     ______          F.2d 41, 46-47 (2d  Cir. 1993) (holding that, though  a probation          order  did not specify  the time for  payment of a  fine, it gave                                          9          sufficient  notice  that failure  to pay  the  fine would  work a          violation); see also United States v. Ferryman, 897 F.2d 584, 590                      ___ ____ _____________    ________          (1st Cir.)  (noting in an  analogous context that  defendants are          entitled  only to  "fair notice,"  not "letter  perfect notice"),          cert. denied, 498 U.S.  830 (1990).  Conditions of  probation may          _____ ______          afford fair warning even if they  are not precise to the point of          pedantry.  In short, conditions of probation can be written   and          must be read   in a commonsense way.                    Adherence to  these principles  demands that  we uphold          the adequacy of the warning furnished  here.  We have three  main          reasons for reaching this conclusion.  First, we cannot fault the          district  court's finding  that  the phrase  "proper  psychiatric          treatment, inclusive of  medication," on the  basis of its  plain          meaning, see supra  Part II(A),  put appellant on  notice that  a                   ___ _____          refusal   to  follow   doctor's   instructions   and  submit   to          hospitalization  would constitute  a violation  of the  probation          order.6   Cf., e.g., Mace  v. Amestoy, 765  F. Supp.  847, 849-50                    ___  ____  ____     _______          (D. Vt.  1991) (ruling  that a  condition of  probation requiring          participation in and completion of a "sexual therapy program" put          defendant on notice that  therapy might necessitate admitting his          sexual misconduct).   The challenged condition,  read in context,                                        ____________________               6Appellant  contends that,  under Simmons,  812 F.2d  561, a                                                 _______          probationer is routinely entitled to receive more specific notice          of  proscribed behavior  than that delivered  by means  of formal          conditions of probation.   We disagree.  A careful reading of the          passage cited by appellant indicates that our view coincides with          that of the Simmons court.   When the proscribed behavior is  not                      _______          itself  criminal  in  nature,  formal  conditions  of  probation,          plainly  written,  are  generally  thought  to  supply sufficient          actual notice of proscribed activities.  See id. at 565.                                                   ___ ___                                          10          itself provided fair warning.                    Second,  there  is nothing  in  the  record to  suggest          either that  appellant acted under  a misapprehension or  that he          believed a  refusal to  accept inpatient admission  would comport          with the conditions of his probation.  A probationer who does not          advance a  credible claim that  he was unaware,  or misunderstood          the scope,  of the conditions of his probation is hard pressed to          claim that he  lacked fair warning.  See, e.g.,  United States v.                                               ___  ____   _____________          Laughlin, 933 F.2d 786, 790 (9th Cir. 1991).  So it is here.          ________                    Finally,  the  inquiry   into  fair   warning  is   not          necessarily confined to the four  corners of the probation order.          See  Grant, 816 F.2d  at 442; United  States v. Romero,  676 F.2d          ___  _____                    ______________    ______          406,  407 (9th Cir. 1982).  The  meaning of a probation order may          be illuminated by the judge's statements, the probation officer's          instructions,  or other events, any or all of which may assist in          completing the notification  process and in  aiding the court  to          determine whether  a probationer  has been forewarned  about what          conduct could be deemed to transgress the probation order.                    Here,  several pieces  of  data buttress  the  district          court's finding  that appellant  received fair  warning.   In the          first place,  the plea agreement  provided a prism  through which          the  conditions of probation could  be read    and that agreement          made the  scope of the conditions very clear.  See supra pp. 7-8.                                                         ___ _____          In the second place,  appellant signed his name below the list of          conditions  contemporaneous with the  imposition of  the original          sentence.   In this fashion, he signified his understanding that,                                          11          upon a finding of a violation, probation might be revoked.   Such          a manifestation of acceptance of the terms, though rebuttable, is          prima facie evidence of a probationer's knowing acceptance of the          _____ _____          conditions  in place at the time probation commenced.  See, e.g.,                                                                 ___  ____          Green, 984  F.2d at 47; United States v. Barth, 899 F.2d 199, 203          _____                   _____________    _____          (2d Cir. 1990), cert. denied, 498 U.S. 1083 (1991).                          _____ ______                    It is also significant  that both the probation officer          and the court repeatedly  explained to appellant the risk  he was          running.   The record  reflects that  the probation  officer told          appellant on May 21 that Dr. Geller believed inpatient  treatment          was essential to meet the  goal of "proper psychiatric treatment"          and exhorted appellant  to comply.   Such a  conversation may  be          considered  as a  component of  the notification  process.   See,                                                                       ___          e.g., Green, 984 F.2d at  47; Romero, 676 F.2d at 407;  Mace, 765          ____  _____                   ______                    ____          F.  Supp. at  849-50.    Furthermore,  the  district  judge,  who          exhibited  great  sensitivity in  his  thoughtful  handling of  a          difficult  case, urged  appellant on  more  than one  occasion to          relent   and  told  him  in  no  uncertain  terms  that,  if  his          intransigence  did not abate, he  would be found  in violation of          the probation order.                    To  sum  up,  appellant timely  received  the probation          order;  the conditions  of  probation  contained therein  clearly          contemplated  inpatient  care  if medically  indicated;  and  the          penalties that  might flow  from violating those  conditions were          apparent.  Given the unvarnished terms  of the special condition,          appellant's previous  three-year hospital stay, the  tenor of the                                          12          plea  agreement,  the  probation   officer's  guidance,  and  the          district judge's  entreaties, appellant received ample  notice of          both the proscription  against refusing  inpatient treatment  and          the possible, if  not certain, consequence  of persisting in  his          chosen course of conduct.          III.  THE REVOCATION DECISION          III.  THE REVOCATION DECISION                    The   standard  of   appellate  review   pertaining  to          revocation decisions is  not in  doubt.  When  a district  court,          after holding an evidentiary hearing, finds a probation violation          and determines that revocation is a condign response, we will not          prepare a  palimpsest, but  will scrutinize the  district court's          decision  only  for abuse  of discretion.    See Burns  v. United                                                       ___ _____     ______          States, 287 U.S.  216, 222  (1932); United States  v. Nolan,  932          ______                              _____________     _____          F.2d 1005, 1006 (1st Cir. 1991); United States v. Morin, 889 F.2d                                           _____________    _____          328, 331 (1st Cir. 1989).                    To reach the point at which  revocation of probation is          appropriate, a  district court  must complete a  two-step pavane.          The first component is historical; it involves the "retrospective          factual question whether the probationer has violated a condition          of probation."  Black v.  Romano, 471 U.S. 606, 611 (1985).   The                          _____     ______          second  component  is  judgmental; it  involves  "a discretionary          determination by the sentencing  authority whether violation of a          condition  warrants revocation of probation."  Id.  We proceed to                                                         ___          review the district court's  determinations as to each component,          mindful, withal, that  "[t]he Due  Process Clause .  . .  imposes          procedural  and  substantive  limits  on the  revocation  of  the                                          13          conditional liberty created by probation."  Id. at 610.                                                      ___                                  A.  The Violation.                                  A.  The Violation.                                      _____________                    At a revocation  proceeding, the  prosecution need  not          prove the conduct charged beyond a reasonable doubt; it is enough          if the  proof,  reasonably viewed,  satisfies  the court  that  a          violation occurred.  See  United States v. Gordon, 961  F.2d 426,                               ___  _____________    ______          429 (3d Cir. 1992); United States v. Czajak, 909 F.2d 20, 22 (1st                              _____________    ______          Cir. 1990); United States v. Lacey, 661 F.2d 1021, 1022 (5th Cir.                      _____________    _____          1981), cert. denied, 456 U.S. 961 (1982).                 _____ ______                    The  government met  this burden  in the  instant case.          Despite being fully apprised of  Dr. Geller's views and receiving          an  urgent request from the probation  officer, appellant did not          agree to institutionalize himself.   Even after the judge  drew a          line  in the sand,  appellant remained adamant  in his insistence          that  he would  not  submit to  inpatient  care.   On  this stark          record,  the district  court's  explicit  finding that  appellant          knowingly and  wilfully  elected to  ignore  a condition  of  his          probation is  entirely supportable.   It  follows that  the first          step in the two-step pavane is easily ventured.7                                 B.  The Disposition.                                 B.  The Disposition.                                     _______________                    When revocation of probation  is committed to  judicial                                        ____________________               7Appellant  argues  that  there  was  no  medical  need  for                                                         _______          hospitalization,  but  merely  an administrative  need,  i.e.,  a                                            ______________         ____          desire to husband  the costs of  supervision.  Assuming,  without          deciding, that  this is a meaningful  distinction, we nonetheless          reject the  argument.  Dr.  Geller's testimony at  the revocation          hearing, fully credited by the district court, made it clear that          he treated appellant as he would have treated any other similarly          afflicted  patient, and  that  hospitalization was  needed as  an          integral part of "proper psychiatric treatment."                                          14          discretion,  judges should not regard it as a routine response to          every probation violation.  Rather, revocation should be reserved          for those instances in  which the case history, coupled  with the          probationer's behavior, indicates  that it is  a fair, just,  and          sensible outcome.   See, e.g.,  Nolan, 932 F.2d  at 1006;  United                              ___  ____   _____                      ______          States v. Fryar, 920 F.2d 252, 257 (5th Cir. 1990), cert. denied,          ______    _____                                     _____ ______          499  U.S. 981  (1991); see also  Steven A. Childress  &amp; Martha S.                                 ___ ____          Davis, Federal Standards  of Review,    11.39 at  11-161 (2d  ed.                 ____________________________          1986).  This second step  of the revocation analysis necessitates          individualized attention to the particular probationer and to the          idiosyncratic circumstances of his situation.  And, it requires a          predictive  decision, based in part on  the court's assessment of          the  probationer's  propensity toward  antisocial  conduct.   See                                                                        ___          Lacey,  661 F.2d at  1022; United States v.  Reed, 573 F.2d 1020,          _____                      _____________     ____          1024 (8th Cir. 1978).                    Although  the trial  court possesses  wide latitude  in          making  such determinations, that latitude is not unbounded.  The          test for abuse of discretion is well settled in this circuit:                    In making discretionary judgments, a district                    court abuses  its discretion when  a relevant                    factor  deserving  of  significant weight  is                    overlooked,  or  when an  improper  factor is                    accorded  significant  weight,  or  when  the                    court  considers  the   appropriate  mix   of                    factors,  but commits  a  palpable  error  of                    judgment   in   calibrating  the   decisional                    scales.          United  States v.  Roberts,  978 F.2d  17,  21 (1st  Cir.  1992);          ______________     _______          accord,  e.g., Independent Oil &amp; Chem. Workers of Quincy, Inc. v.          ______   ____  _______________________________________________          Procter &amp;  Gamble Mfg. Co.,  864 F.2d 927,  929 (1st Cir.  1988);          __________________________                                          15          United  States v. Hastings, 847  F.2d 920, 924  (1st Cir.), cert.          ______________    ________                                  _____          denied,  488 U.S. 925 (1988).  Applying  this test, we are unable          ______          to  discern any smidgen of abuse in the district court's decision          to revoke  probation in  order to  ensure that appellant  receive          necessary medical treatment.   Based on a careful combing  of the          record we  conclude that the court considered all the appropriate          factors and made no detectable mistake in weighing them.                    Nor is  this conclusion undercut by  appellant's lament          that  the district  court, in  revoking probation,  impermissibly          punished  him for  faultless  conduct.    This thesis  finds  its          genesis in appellant's view that because his mental health status          is  involuntary  (most  recently   induced,  he  claims,  by  the          government,  which placed  him on,  then tried  to wean  him away          from, Haldol), revocation of  probation is an improper punishment          for it.  This argument is lame.  See Bearden v. Georgia, 461 U.S.                                           ___ _______    _______          660, 668 n.9 (1983)  (explaining that "the probationer's  lack of          fault in  violating a  term of probation  [does not]  necessarily          prevent  a court from revoking probation").  In this vein, United                                                                     ______          States  v. Brown, 899 F.2d 189, 193 (2d Cir. 1990), appropriately          ______     _____          reminds  us that  "though  a probation  violation  may result  in          incarceration  .  . .,  this punishment  is  imposed not  for the          violation itself but for the prior criminal offense for which the          probationer was convicted."                    We will not belabor the obvious, for it is difficult to          imagine a much clearer case than the case at bar.  As appellant's          outpatient treatment  program progressed, his  mental and  social                                          16          state deteriorated;  he began  hallucinating about  messages from          inanimate objects  and felt threatened by  satellites.  Moreover,          he made it plain that  he did not consider himself mentally  ill;          that,  left to his own  devices, he would  not take medication to          alleviate the manifestations of his  disorder; and that he  would          not submit voluntarily to inpatient care.  Especially in light of          appellant's  defiance   of  the  doctor's  instructions  and  his          previous involvement in threats of grievous bodily harm against a          public official, his  situation called out for  remediation.  The          district  court, after  finding that  appellant had  violated the          terms  of  probation,  simply  answered  the  call,  effecting  a          disposition  that ensured  appropriate treatment  for appellant's          affliction and, at the same time, alleviated a cognizable risk to          public safety.          IV.  CONCLUSION          IV.  CONCLUSION                    We  need  go  no  further.8    In  the  original  case,          appellant  gained his liberty subject to a condition of probation          that required  him to  submit to inpatient  psychiatric treatment          when  medically  indicated.   Having  been fairly  warned  of the          prospective  consequences of intransigence,  he nonetheless chose                                        ____________________               8The  question  of appellant's  competency  at  the time  of          revocation  is not before us.  Appellant  did not make a claim of          incompetency; no party sought a competency hearing, see 18 U.S.C.                                                              ___             4241(a) (1988); and the  record contains no  evidence of cause          sufficient to impel  a court,  sua sponte, to  launch an  inquiry                                         ___ ______          into competency.  A  history of psychiatric treatment, in  and of          itself,  does not require a court to convene a competency hearing          on its own initiative.  See Hernandez-Hernandez v. United States,                                  ___ ___________________    _____________          904 F.2d  758, 760-61 (1st Cir. 1990);  see also United States v.                                                  ___ ____ _____________          Teague,  956 F.2d  1427, 1431-32  (7th  Cir. 1992);  Hernandez v.          ______                                               _________          Ylst, 930 F.2d 714, 717-18 (9th Cir. 1991).          ____                                          17          to  flout the  condition.   Thereafter,  he  turned his  back  on          numerous  opportunities to  deliver himself  from the  revocation          proceeding  by   agreeing  to  enter   the  hospital.     In  the          circumstances  of this  case,  the lower  court  did not  err  in          finding a violation of  the probation order, revoking appellant's          probationary  status,  and   imposing  a  one-year  incarcerative          sentence, followed by a term of supervised release.          Affirmed.          Affirmed.          ________                                          18

